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                               UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF LOUISIANA
                                      LAFAYETTE DIVISION
   TOTAL REBUILD, INC.                                  CASE NO. 6:15-CV-1855
   VERSUS                                               JUDGE TERRY A. DOUGHTY
   PHC FLUID POWER, L.L.C.                              MAG. JUDGE CAROL B.
                                                        WHITEHURST

            MEMORANDUM OPINION AND ORDER ON CLAIM CONSTRUCTION

           On April 4, 2019, the parties stipulated to submitting the pending claim construction for

    United States Patent No. 8,146,428 (“the ’428 Patent”) on the briefs. [Doc. No. 265]. Having

    considered the arguments made by the parties in their briefing [Doc. Nos. 73, 78, & 83], having

    considered the intrinsic evidence, and having made subsidiary factual findings about the extrinsic

    evidence, the Court hereby issues this Claim Construction Memorandum and Order. See Phillips

    v. AWH Corp., 415 F.3d 1303, 1314 (Fed. Cir. 2005); Teva Pharm. USA, Inc. v. Sandoz, Inc., 135

    S. Ct. 831, 841 (2015).
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              I.      BACKGROUND

            The ’428 Patent was filed on August 7, 2009, issued on April 3, 2012, and is titled Safety

    System. The ’428 Patent generally relates to a safety system for testing high-pressure devices. ’428

    Patent at Abstract. The specification states that “[t]he testing of high-pressure devices and the

    various components of the high-pressure devices, by its very nature, is an inherently dangerous

    activity as one is in search of faults in devices that can potentially lead to disastrous.” Id. at 1:28–

    31. The specification indicates that the main design problem is “the creation of a barrier that will

    not only stop the fragments in case the high-pressure testing equipment happens to fail but will also

    include safety features to help minimize the exposure of operator(s) to the high-pressure testing

    equipment during the testing stage.” Id. at 1:56–60.

           In one embodiment, safety system 10 includes “a stationary explosion-proof safety housing

    comprising a bunker housing 11 having a chamber 12 therein.” Id. at 2:49–51. Figure 1 is a

    schematic view of this embodiment.




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   Id. at Figure 1. The specification states that “bunker housing 11 may be form from a plurality of

    materials that is able to withstand the impact of high velocity projectile/high-speed flying

    fragments resulting from explosion of pressure equipments including valves, piping, fittings,

    ruptured disks, intensifiers and pumps, as well as pressure vessels.” Id. at 2:51–56.           The

    specification further states that “high-pressure pneumatics testing equipment [13, 14, 15] and

    means 12a for coupling the high-pressure pneumatics testing equipment to a high-pressure device

    for testing” are located entirely within chamber 12. Id. at 3:1–3. Similarly, the specification

    indicates that “a majority if not all associated pumps, plumbing, hoses, and bleed valves are to also

    be located entirely within chamber 12.” Id. at 3:35–38.

           The specification further discloses that “[s]afety system 10 also includes a control panel 16

    located outside of the chamber 12 of bunker housing 11 and means linking the high-pressure

    pneumatics testing equipment to the control panel 16 for operating the high-pressure pneumatics

    testing equipment within bunker housing 11 from control panel 16.” Id. at 3:26–31. The

    specification indicates that this keeps “all pressure in the bunker housing 11 away from the

    operator.” Id. at 3:16.

           Claim 1 of the ’428 Patent recite the following elements (disputed term in italics):

                   1. A safety system for testing high-pressure devices comprising:
                      an explosion-proof safety housing;
                      a high-pressure pneumatics testing equipment located within said
                            housing;
                      a bleed valve coupled to said high-pressure pneumatics testing
                            equipment;
                      a closeable access opening in said housing for inserting a high-
                            pressure device for testing within said housing;
                      means within said housing for coupling said high-pressure
                            pneumatics testing equipment to said high-pressure device
                            for testing;
                      a control panel located remote from said housing; and
                      means linking said high-pressure pneumatics testing equipment
                            to said control panel for operating said high-pressure



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                           pneumatics testing equipment within said safety housing
                           from said control panel.


             II.     APPLICABLE LAW

                   A.     Claim Construction

          “It is a ‘bedrock principle’ of patent law that ‘the claims of a patent define the invention to

   which the patentee is entitled the right to exclude.’” Phillips v. AWH Corp., 415 F.3d 1303, 1312

   (Fed. Cir. 2005) (en banc) (quoting Innova/Pure Water Inc. v. Safari Water Filtration Sys., Inc.,

   381 F.3d 1111, 1115 (Fed. Cir. 2004)). To determine the meaning of the claims, courts start by

   considering the intrinsic evidence. Id. at 1313; C.R. Bard, Inc. v. U.S. Surgical Corp., 388 F.3d

   858, 861 (Fed. Cir. 2004); Bell Atl. Network Servs., Inc. v. Covad Commc’ns Group, Inc., 262 F.3d

   1258, 1267 (Fed. Cir. 2001).        The intrinsic evidence includes the claims themselves, the

   specification, and the prosecution history. Phillips, 415 F.3d at 1314; C.R. Bard, Inc., 388 F.3d at

   861. The general rule—subject to certain specific exceptions discussed infra—is that each claim

   term is construed according to its ordinary and accustomed meaning as understood by one of

   ordinary skill in the art at the time of the invention in the context of the patent. Phillips, 415 F.3d

   at 1312–13; Alloc, Inc. v. Int’l Trade Comm’n, 342 F.3d 1361, 1368 (Fed. Cir. 2003); Azure

   Networks, LLC v. CSR PLC, 771 F.3d 1336, 1347 (Fed. Cir. 2014) (“There is a heavy presumption

   that claim terms carry their accustomed meaning in the relevant community at the relevant time.”)

   (vacated on other grounds).

           “The claim construction inquiry . . . begins and ends in all cases with the actual words of

   the claim.” Renishaw PLC v. Marposs Societa’ per Azioni, 158 F.3d 1243, 1248 (Fed. Cir. 1998).

   “[I]n all aspects of claim construction, ‘the name of the game is the claim.’” Apple Inc. v. Motorola,

   Inc., 757 F.3d 1286, 1298 (Fed. Cir. 2014) (quoting In re Hiniker Co., 150 F.3d 1362, 1369 (Fed.

   Cir. 1998)). First, a term’s context in the asserted claim can be instructive. Phillips, 415 F.3d at


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   1314. Other asserted or unasserted claims can also aid in determining the claim’s meaning,

   because claim terms are typically used consistently throughout the patent. Id. Differences among

   the claim terms can also assist in understanding a term’s meaning. Id. For example, when a

   dependent claim adds a limitation to an independent claim, it is presumed that the independent

   claim does not include the limitation. Id. at 1314–15.

          “[C]laims ‘must be read in view of the specification, of which they are a part.’” Id. (quoting

   Markman v. Westview Instruments, Inc., 52 F.3d 967, 979 (Fed. Cir. 1995) (en banc)). “[T]he

   specification ‘is always highly relevant to the claim construction analysis.          Usually, it is

   dispositive; it is the single best guide to the meaning of a disputed term.’” Id. (quoting Vitronics

   Corp. v. Conceptronic, Inc., 90 F.3d 1576, 1582 (Fed. Cir. 1996)); Teleflex, Inc. v. Ficosa N. Am.

   Corp., 299 F.3d 1313, 1325 (Fed. Cir. 2002). But, “‘[a]lthough the specification may aid the court

   in interpreting the meaning of disputed claim language, particular embodiments and examples

   appearing in the specification will not generally be read into the claims.’” Comark Commc’ns, Inc.

   v. Harris Corp., 156 F.3d 1182, 1187 (Fed. Cir. 1998) (quoting Constant v. Advanced Micro-

   Devices, Inc., 848 F.2d 1560, 1571 (Fed. Cir. 1988)); see also Phillips, 415 F.3d at 1323. “[I]t is

   improper to read limitations from a preferred embodiment described in the specification—even if

   it is the only embodiment—into the claims absent a clear indication in the intrinsic record that the

   patentee intended the claims to be so limited.” Liebel-Flarsheim Co. v. Medrad, Inc., 358 F.3d

   898, 913 (Fed. Cir. 2004).

          The prosecution history is another tool to supply the proper context for claim construction

   because, like the specification, the prosecution history provides evidence of how the U.S. Patent

   and Trademark Office (“PTO”) and the inventor understood the patent. Phillips, 415 F.3d at 1317.

   However, “because the prosecution history represents an ongoing negotiation between the PTO




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   and the applicant, rather than the final product of that negotiation, it often lacks the clarity of the

   specification and thus is less useful for claim construction purposes.” Id. at 1318; see also Athletic

   Alternatives, Inc. v. Prince Mfg., 73 F.3d 1573, 1580 (Fed. Cir. 1996) (ambiguous prosecution

   history may be “unhelpful as an interpretive resource”).

          Although extrinsic evidence can also be useful, it is “‘less significant than the intrinsic

   record in determining the legally operative meaning of claim language.’” Phillips, 415 F.3d at

   1317 (quoting C.R. Bard, Inc., 388 F.3d at 862). Technical dictionaries and treatises may help a

   court understand the underlying technology and the manner in which one skilled in the art might

   use claim terms, but technical dictionaries and treatises may provide definitions that are too broad

   or may not be indicative of how the term is used in the patent. Id. at 1318. Similarly, expert

   testimony may aid a court in understanding the underlying technology and determining the

   particular meaning of a term in the pertinent field, but an expert’s conclusory, unsupported

   assertions as to a term’s definition are entirely unhelpful to a court. Id. Generally, extrinsic

   evidence is “less reliable than the patent and its prosecution history in determining how to read

   claim terms.” Id. The Supreme Court recently explained the role of extrinsic evidence in claim

   construction:

          In some cases, however, the district court will need to look beyond the patent’s
          intrinsic evidence and to consult extrinsic evidence in order to understand, for
          example, the background science or the meaning of a term in the relevant art during
          the relevant time period. See, e.g., Seymour v. Osborne, 11 Wall. 516, 546 (1871)
          (a patent may be “so interspersed with technical terms and terms of art that the
          testimony of scientific witnesses is indispensable to a correct understanding of its
          meaning”). In cases where those subsidiary facts are in dispute, courts will need to
          make subsidiary factual findings about that extrinsic evidence. These are the
          “evidentiary underpinnings” of claim construction that we discussed in Markman,
          and this subsidiary factfinding must be reviewed for clear error on appeal.

          Teva Pharm. USA, Inc. v. Sandoz, Inc., 135 S. Ct. 831, 841 (2015).




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                  B.     Departing from the Ordinary Meaning of a Claim Term

          There are “only two exceptions to [the] general rule” that claim terms are construed

   according to their plain and ordinary meaning: “1) when a patentee sets out a definition and acts

   as his own lexicographer, or 2) when the patentee disavows the full scope of the claim term either

   in the specification or during prosecution.”1 Golden Bridge Tech., Inc. v. Apple Inc., 758 F.3d

   1362, 1365 (Fed. Cir. 2014) (quoting Thorner v. Sony Computer Entm’t Am. LLC, 669 F.3d 1362,

   1365 (Fed. Cir. 2012)); see also GE Lighting Solutions, LLC v. AgiLight, Inc., 750 F.3d 1304, 1309

   (Fed. Cir. 2014) (“[T]he specification and prosecution history only compel departure from the

   plain meaning in two instances: lexicography and disavowal.”).         The standards for finding

   lexicography or disavowal are “exacting.” GE Lighting Solutions, 750 F.3d at 1309.

          To act as his own lexicographer, the patentee must “clearly set forth a definition of the

   disputed claim term,” and “clearly express an intent to define the term.” Id. (quoting Thorner, 669

   F.3d at 1365); see also Renishaw, 158 F.3d at 1249. The patentee’s lexicography must appear

   “with reasonable clarity, deliberateness, and precision.” Renishaw, 158 F.3d at 1249.

          To disavow or disclaim the full scope of a claim term, the patentee’s statements in the

   specification or prosecution history must amount to a “clear and unmistakable” surrender. Cordis

   Corp. v. Boston Sci. Corp., 561 F.3d 1319, 1329 (Fed. Cir. 2009); see also Thorner, 669 F.3d at

   1366 (“The patentee may demonstrate intent to deviate from the ordinary and accustomed meaning

   of a claim term by including in the specification expressions of manifest exclusion or restriction,

   representing a clear disavowal of claim scope.”). “Where an applicant’s statements are amenable

   to multiple reasonable interpretations, they cannot be deemed clear and unmistakable.” 3M


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     Some cases have characterized other principles of claim construction as “exceptions” to the
   general rule, such as the statutory requirement that a means-plus-function term is construed to
   cover the corresponding structure disclosed in the specification. See, e.g., CCS Fitness, Inc. v.
   Brunswick Corp., 288 F.3d 1359, 1367 (Fed. Cir. 2002).


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   Innovative Props. Co. v. Tredegar Corp., 725 F.3d 1315, 1326 (Fed. Cir. 2013); see also Avid

   Tech., Inc. v. Harmonic, Inc., 812 F.3d 1040, 1045 (Fed. Cir. 2016) (“When the prosecution history

   is used solely to support a conclusion of patentee disclaimer, the standard for justifying the

   conclusion is a high one.”).

          Although a statement of lexicography or disavowal must be exacting and clear, it need not

   be “explicit.” See Trs. of Columbia Univ. v. Symantec Corp., 811 F.3d 1359, 1364 (Fed. Cir. 2016)

   (“a patent applicant need not expressly state ‘my invention does not include X’ to indicate his

   exclusion of X from the scope of his patent”). Lexicography or disavowal can be implied where,

   e.g., the patentee makes clear statements characterizing the scope and purpose of the invention.

   See On Demand Mach. Corp. v. Ingram Indus., Inc., 442 F.3d 1331, 1340 (Fed. Cir. 2006)

   (“[W]hen the scope of the invention is clearly stated in the specification, and is described as the

   advantage and distinction of the invention, it is not necessary to disavow explicitly a different

   scope.”). Nonetheless, the plain meaning governs “[a]bsent implied or explicit lexicography or

   disavowal.” Trs. of Columbia Univ., 811 F.3d at 1364 n.2.

                  C.      35 U.S.C. § 112(6) (pre-AIA) / § 112(f) (AIA)2

          A patent claim may be expressed using functional language. See 35 U.S.C. § 112, ¶ 6;

   Williamson v. Citrix Online, LLC, 792 F.3d 1339, 1347–49 & n.3 (Fed. Cir. 2015) (en banc in

   relevant portion). Section 112, Paragraph 6, provides that a structure may be claimed as a “means

   . . . for performing a specified function” and that an act may be claimed as a “step for performing

   a specified function.” Masco Corp. v. United States, 303 F.3d 1316, 1326 (Fed. Cir. 2002).




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     Because the application resulting in the ’428 Patent w a s filed before September 16, 2012,
   the effective date of the America Invents Act (“AIA”), the Court refers to the pre-AIA version of §
   112.


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         But § 112, ¶ 6 does not apply to all functional claim language. There is a rebuttable

 presumption that § 112, ¶ 6 applies when the claim language includes “means” or “step for” terms,

 and that it does not apply in the absence of those terms. Masco Corp., 303 F.3d at 1326;

 Williamson, 792 F.3d at 1348. The presumption stands or falls according to whether one of

 ordinary skill in the art would understand the claim with the functional language, in the context of

 the entire specification, to denote sufficiently definite structure or acts for performing the function.

 See Media Rights Techs., Inc. v. Capital One Fin. Corp., 800 F.3d 1366, 1372 (Fed. Cir. 2015) (§

 112, ¶ 6 does not apply when “the claim language, read in light of the specification, recites

 sufficiently definite structure” (quotation marks omitted) (citing Williamson, 792 F.3d at 1349;

 Robert Bosch, LLC v. Snap-On Inc., 769 F.3d 1094, 1099 (Fed. Cir. 2014))); Williamson, 792 F.3d

 at 1349 (§ 112, ¶ 6 does not apply when “the words of the claim are understood by persons of

 ordinary skill in the art to have sufficiently definite meaning as the name for structure”); Masco

 Corp., 303 F.3d at 1326 (§ 112, ¶ 6 does not apply when the claim includes an “act” corresponding

 to “how the function is performed”); Personalized Media Communications, L.L.C. v. International

 Trade Commission, 161 F.3d 696, 704 (Fed. Cir. 1998) (§ 112, ¶ 6 does not apply when the claim

 includes “sufficient structure, material, or acts within the claim itself to perform entirely the recited

 function . . . even if the claim uses the term ‘means.’”) (quotation marks and citation omitted).

         When it applies, § 112, ¶ 6 limits the scope of the functional term “to only the structure,

 materials, or acts described in the specification as corresponding to the claimed function and

 equivalents thereof.” Williamson, 792 F.3d at 1347. Construing a means-plus-function limitation

 involves multiple steps. “The first step . . . is a determination of the function of the means-plus-

 function limitation.” Medtronic, Inc. v. Advanced Cardiovascular Sys., Inc., 248 F.3d 1303, 1311

 (Fed. Cir. 2001). “[T]he next step is to determine the corresponding structure disclosed in the




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 specification and equivalents thereof.” Id.       A “structure disclosed in the specification is

 ‘corresponding’ structure only if the specification or prosecution history clearly links or associates

 that structure to the function recited in the claim.” Id. The focus of the “corresponding structure”

 inquiry is not merely whether a structure is capable of performing the recited function, but rather

 whether the corresponding structure is “clearly linked or associated with the [recited] function.”

 Id. The corresponding structure “must include all structure that actually performs the recited

 function.” Default Proof Credit Card Sys. v. Home Depot U.S.A., Inc., 412 F.3d 1291, 1298 (Fed.

 Cir. 2005). However, § 112, ¶ 6 does not permit “incorporation of structure from the written

 description beyond that necessary to perform the claimed function.” Micro Chem., Inc. v. Great

 Plains Chem. Co., 194 F.3d 1250, 1258 (Fed. Cir. 1999).

           III.   CONSTRUCTION OF AGREED TERMS

        The parties agreed to the constructions of the following terms/phrases:

  Claim Term/Phrase                              Agreed Construction
  “control panel located remote from said        “a device, positioned outside of or exterior to the
  housing”                                       housing for operating the high-pressure testing
                                                 equipment”

  “said sensor coupled to said bleed valve”      “a sensor in communication with the bleed valve
                                                 for actuation of the bleed valve”

  “activate said bleed valve to prevent          “actuation of the bleed valve to prevent pressure
  pressure buildup”                              buildup in the high-pressure testing equipment
                                                 when door is open”

  “portable housing”                             “a housing that is movable or transportable to
                                                 different testing sites”

  “bleed valve coupled to said high-pressure “a valve joined or linked to testing equipment to
  pneumatics testing equipment”              prevent pressure buildup in testing equipment
                                             when the closable access opening is not closed”

  “sensor for sensing that said access           “a switch capable of sensing input regarding
  opening is closed”                             whether the door is open or closed”



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 [Doc. No. 59 at 1-2].3 In view of the parties’ agreement on the proper construction of the identified

 terms, the Court hereby ADOPTS the parties’ agreed constructions.

             IV.    CONSTRUCTION OF DISPUTED TERMS

           The parties dispute the meaning and scope of six terms/phrases of the ’428 Patent.

                   1. “explosion-proof safety housing”

          Disputed Term                 Plaintiff’s Proposal               Defendant’s Proposal
     “explosion-proof safety     “a case or enclosure to cover       “stationary bunker or portable
     housing”                    and protect a structure or a        housing with an enclosed
                                 mechanical device able to           space or cavity”
                                 withstand and confine shock
                                 pressure, pressure blasts, flying
                                 fragments or debris, and energy
                                 resulting from combustion”

                        a) The Parties’ Positions

           The parties dispute whether the term “explosion-proof safety housing” should be construed

 as a “stationary bunker or portable housing with an enclosed space or cavity,” as Defendant

 proposes. Plaintiff argues that the term “housing” is well understood as “[a] case or enclosure to

 cover and protect a structure or a mechanical device.” [Doc. No. 73 at 16] (citing Dictionary of

 Engineering, McGraw-Hill, 2nd ed. 2002). Plaintiff further argues that the term “housing” does

 not require considerable explanation and must be given its ordinary meaning. Id. at 17. Plaintiff

 contends that Figure 1 “shows the housing as a case or enclosure to contain within the housing not

 only the device to be tested but as well the pneumatic testing equipment and associated pumps,

 pluming, hoses, and valves.” Id. (citing ’428 Patent at 3:36–38).

           Regarding Defendant’s construction, Plaintiff argues that it violates the doctrine of claim

 differentiation. Id. Plaintiff contends that interpreting the term “housing” to mean a “stationary


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   Citations to the parties’ filings are to the filing’s number in the docket [Doc. No.] and pin cites
 are to the page numbers assigned through ECF.


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 bunker” or “portable housing,” would render claims 7, 8, and 14 superfluous and redundant to

 claims 1 and 11, respectively. Id. at 18. Plaintiff further argues that the phrase “explosion-proof”

 indicates that the housing must be capable of not only functioning as a case or enclosure for

 containing the device to be tested, but also to withstand and contain such shock pressures, pressure

 blasts, flying fragments or debris, and the energy resulting from combustion. Id. at 18-19. Plaintiff

 contends that Defendant’s construction completely ignores that the housing is “explosion-proof,”

 and does not accurately reflect the use of the term in the art or in the context of the patent. Id. at

 19. According to Plaintiff, the term “explosion-proof safety housing” must be construed to be “a

 case or enclosure to cover and protect a structure or a mechanical device able to withstand and

 confine shock pressure, pressure blasts, flying fragments or debris, and energy resulting from

 combustion.” Id.

        Defendant responds that the specification defines an “explosion-proof safety housing” as

 “comprising a bunker housing 11 having a chamber 12 therein.” [Doc. No. 78 at 16] (citing ’428

 Patent at 2:49–51). According to Defendant, the definition of “explosion-proof safety housing”

 that includes “bunker” must be taken into account. Id. at 16-17. Defendant further contends that

 Plaintiff argues that the safety-housing must have a roof or top portion to cover the devices being

 tested in the housing. Id. at 17. Defendant argues that there is no language in the specification or

 the claims that sets the requirement that the safety housing must have a roof or cover. Id.

 Defendant contends that Plaintiff has presented no evidence that any bunker must have a roof or

 cover. Id.

        Defendant also contends that the term “chamber” is defined as “a natural or artificial

 enclosed     space   or   cavity.”   Id.   (citing        Merriam-Webster.com,   http://www.merriam-

 webster.com/dictionary/chamber). Defendant argues that the chamber (12) is displayed in Figure




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 1 as a volume within the housing. Id. Defendant also argues that the chamber (44) in Figure 5 is

 also displayed as a volume within the housing. Id.at 18 (citing ’428 Patent at 5:44-47). According

 to Defendant, the ’428 Patent clearly describes both a stationary bunker and a portable housing,

 each with an enclosed space or cavity. Id.

        Regarding Plaintiff’s construction, Defendant argues that Plaintiff’s construction ignores

 these limitations in the specification and instead turns to extrinsic evidence to support its

 construction of “explosion-proof safety housing.” Id. Defendant also argues that Plaintiff’s

 interpretation is also erroneous because it misapplies the doctrine of claim differentiation. Id. at

 19. Defendant contends that the dependent claims, claims 7, 8, and 14, recite either “stationary

 housing” or “portable housing” but not both terms. Id. Defendant argues that under its construction

 the dependent claims will be narrower, and thus necessarily not superfluous to the independent

 claims. Id.

        Plaintiff replies that Defendant’s disregard of the term “explosion proof” dilutes the

 meaning of the term and defines it so that it may apply to inapplicable prior art. [Doc. No. 83 at

 10]. Plaintiff argues that the correct construction of “explosion proof safety housing” must be

 construed to include the meaning of the limitation “explosion proof.” Id. Plaintiff also argues that

 Defendant’s construction attempts to read the limitations of dependent claims 7, 8, and 14 into

 independent claims 1 and 11. Id. Plaintiff contends that Defendant’s construction would be

 redundant because the limitations of “a stationary bunker or portable housing” would already have

 been stated in the construction of independent claims 1 and 11. Id. Finally, Plaintiff states that it

 has no objection to including “bunker” and “chamber” in its proposed construction. Id.

                      b) Analysis

        The phrase “explosion-proof safety housing” appears in claims 1, 7, 8, 11, 14, and 16 of




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 the ’428 Patent. The Court finds that the phrase is used consistently in the claims and is intended

 to have the same general meaning in each claim. The Court further finds that the term “housing”

 does not require construction, because the term is unambiguous, and is easily understandable by a

 jury, and should be given its plain and ordinary meaning. Indeed, Defendant includes the term

 “housing” in its proposed construction. That said, the specification also identifies the “explosion-

 proof safety housing” as a bunker or an enclosure. Specifically, the specification states that Figure

 1 “shows a schematic view of an embodiment of a safety system 10 of the present invention for

 safely pressure testing high-pressure devices and components of high-pressure equipments.” ’428

 Patent at 2:40–43. The specification adds that “[s]afety system 10 includes a stationary explosion-

 proof safety housing comprising a bunker housing 11 having a chamber 12 therein.” Id. at 2:49–

 51 (emphasis added). The following figure shows the housing (11) outlined in red.




 Id. at Figure 1 (annotated). The specification states that the high pressure testing equipment (i.e.,

 low-pressure pump 13, intermediate-pressure pump 14, high-pressure pump 48, and bleed valve

 15) are enclosed in housing 11. Id. at 3:13–16. Similarly, in describing an alternate embodiment,

 the specification states that “unlike the bunker housing 11 of safety system 10, which comprises a


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 stationary enclosure, the testing housing 45 of portable safety system 40 comprises a smaller

 portable enclosure or housing that may be moved to different testing sites.” Id. at 5:43–47.

 Accordingly, the specification identifies the recited “housing” as an “enclosure” or a “bunker.”

        Regarding the term “explosion-proof safety,” the Court finds that the term should be

 construed to mean “able to withstand and confine shock pressure, pressure blasts, flying fragments

 or debris, and energy resulting from combustion or release of elastic energy stored in a

 compressible fluid.” In describing bunker housing 11, the specification states the following:

        In regards to bunker housing 11, bunker housing 11 may be form from a plurality
        of materials that is able to withstand the impact of high velocity projectile/high-
        speed flying fragments resulting from explosion of pressure equipments including
        valves, piping, fittings, ruptured disks, intensifiers and pumps, as well as pressure
        vessels. The materials of bunker housing 11 may also be able to withstand and
        confine shock wave or shock pressure radiated by explosions resulting from the use
        of a gas as the pressure medium in high-pressure testing or is fluids is used as the
        pressure medium in high-pressure testing, the flashing or geysering of a compressed
        fluid to a vapor state resulting from the compressed fluid rapidly passing through
        an orifice wherein elastic energy is then converted to heat. Suitable materials for
        the manufacture of bunker housing 11 include but are not limited to concrete and
        various metals such as steel, aluminum and their alloys.

 Id. at 2:51–67 (emphasis added). Similarly, the Background section of the specification states that

 “[e]xamples of two types of hazards that are associated with the testing of high-pressure devices

 include shock from a pressure blast and flying fragments and debris . . . The energy released to

 create such overpressures may result from combustion, or may be due to the release of elastic

 energy stored in a compressible fluid.” Id. at 1:36–45 (emphasis added). The specification adds

 that the main “design problems associated with the hazards of shock from a pressure blast and

 flying fragment and debris is the creation of high-pressure testing equipments that will operate

 safely under the desired pressure and the creation of a barrier that will not only stop the fragments

 in case the high-pressure testing equipment happens to fail but will also include safety features to

 help minimize the exposure of operator(s) to the high-pressure testing equipment during the testing



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 stage.” Id. at 1:52–59.

        Thus, the use of the phrase “explosion-proof safety” in the context of the intrinsic evidence

 means that the housing must be capable of not only functioning as a housing or enclosure for the

 testing equipment, but must also withstand and confine shock pressures, pressure blasts, flying

 fragments or debris, and the energy resulting from combustion or release of elastic energy stored

 in a compressible fluid. This limitation provides that the high pressure device is tested in a safe

 manner by keeping all pressure in the housing away from the operator. See e.g., ’428 Patent at

 3:13–16 (“The high-pressure equipment testing equipments may be fluid driven and are controlled

 by pneumatic switches located outside of bunker housing 11 for safety purposes so as to keep all

 pressure in the bunker housing 11 away from the operator.”). Accordingly, the intrinsic evidence

 indicates that the term “explosion-proof safety” means “able to withstand and confine shock

 pressure, pressure blasts, flying fragments or debris, and energy resulting from combustion or

 release of elastic energy stored in a compressible fluid.”

        Turning to the parties’ construction, Plaintiff’s construction is similar to the Court’s

 construction, except it incorporates an extrinsic definition for the term “housing.” Plaintiff argues

 that the Dictionary of Engineering defines “housing” as “[a] case or enclosure to cover and protect

 a structure or a mechanical device.” [Doc. No. 73 at 16] (Dictionary of Engineering, McGraw-

 Hill, 2nd ed. 2002). Plaintiff also argues that the term “housing” does not “require considerable

 explanation to be understood and must be given its ordinary meaning.” Id. at 17. The Court agrees

 that the term “housing” does not require construction, and that the intrinsic evidence further

 clarifies that “housing” may include a bunker or enclosure.4 Accordingly, the Court finds




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   In its Reply Brief, Plaintiff states that it does not oppose including the term “bunker” in the
 construction. [Doc. No. 83 at 11].


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 Plaintiff’s extrinsic definition for housing unnecessary. The Court generally adopts the remaining

 portion of Plaintiff’s construction with the exception of adding “or release of elastic energy stored

 in a compressible fluid.” As indicated above, the specification states that “the energy released to

 create such overpressures may result from combustion, or may be due to the release of elastic

 energy stored in a compressible fluid.” ’428 Patent at 1:43–45 (emphasis added).

          Regarding Defendant’s construction, the Court rejects it because it is contrary to the

 doctrine of claim differentiation. The doctrine of claim differentiation is a presumption “that

 limitations stated in dependent claims are not to be read into the independent claim from which

 they depend.” Karlin Tech. Inc. v. Surgical Dynamics, Inc., 177 F.3d 968, 972 (Fed. Cir. 1999).

 Claim differentiation is only a presumption and is not “a hard and fast rule of construction”

 Seachange Int’l, Inc. v. C-Cor Inc., 413 F.3d 1361, 1369 (Fed. Cir. 2005) (quoting Kraft Foods,

 Inc. v. Int’l Trading Co., 203 F.3d 1362, 1368 (Fed. Cir. 2000). However, the presumption is at

 its strongest when a limitation from a dependent claim is sought to be read into an independent

 claim. Seachange, 413 F.3d at 1369 (citing Liebel-Flarshiem Co. v. Medrad, Inc., 358 F.3d 898,

 910 (Fed. Cir. 2004)); see also Ecolab Inc. v. Paraclipse, Inc., 285 F.3d 1362, 1375 (Fed. Cir.

 2002).

          Here, Defendant’s construction improperly limits the “housing” to both “stationary” and

 “portable.” The limitation of a “stationary housing” appears in claim 7, a dependent claim of

 independent claim 1. Similarly, the limitation of “portable housing” appears in claims 8 and 14,

 dependent claims of independent claims 1 and 11, respectively. Thus, Defendant’s construction

 would incorrectly read the limitations of dependent claims 7, 8, and 14 into independent claims 1

 and 11, and would violate the doctrine of claim differentiation. “Claim differentiation, while often

 argued to be controlling when it does not apply, is clearly applicable when there is a dispute over




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 whether a limitation found in a dependent claim should be read into an independent claim, and

 that limitation is the only meaningful difference between the two claims.” Wenger Mfg., Inc. v.

 Coating Mach. Sys., Inc., 239 F.3d 1225, 1233 (Fed. Cir. 2001). Here, the only meaningful

 difference in dependent claim 7 is “stationary,” and in dependent claims 8 and 14 is “portable.”

 Accordingly, the Court rejects Defendant’s construction.

        More importantly, Defendant’s construction ignores and completely reads the “explosion-

 proof safety” limitation out of the claims. The correct construction of the phrase “explosion proof

 safety housing” must include the meaning of the term “explosion proof.” Merck & Co. v. Teva

 Pharm. USA, Inc., 395 F.3d 1364, 1372 (Fed. Cir. 2005) (“A claim construction that gives meaning

 to all the terms of the claim is preferred over one that does not do so.”). As discussed above, the

 term “explosion-proof safety” means “able to withstand and confine shock pressure, pressure

 blasts, flying fragments or debris, and energy resulting from combustion or release of elastic

 energy stored in a compressible fluid.” Defendant’s construction not only fails to interpret the

 disputed term in light of the intrinsic evidence, it completely eliminates a critical limitation from

 the scope of the claims. Finally, in reaching its conclusion, the Court has considered the extrinsic

 evidence submitted by the parties, and given it its proper weight in light of the intrinsic evidence.

                      c) Court’s Construction

        The Court construes the term “explosion-proof safety housing” to mean “housing,

 bunker, or enclosure able to withstand and confine shock pressure, pressure blasts, flying

 fragments or debris, and energy resulting from combustion or release of elastic energy stored

 in a compressible fluid.”




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                2. “closeable access opening in said housing”

        Disputed Term                   Plaintiff’s Proposal                Defendant’s Proposal
  “closeable access opening      “a door in the housing which         “a closeable walk-in door to
  in said housing”               may be opened and closed for         the stationary bunker for entry
                                 inserting a high-pressure device     by operators, or a small
                                 for testing”                         closeable door on the portable
                                                                      test housing”

                      a) The Parties’ Positions

        The parties agree that the “opening is said housing” is a door. The parties dispute whether

 the “door” must be large enough to allow an operator to walk into the housing or bunker, as

 Defendant proposes. Plaintiff argues that the specification explains that the explosion-proof safety

 housing (11, 45) includes a closeable access opening (19) comprising a door wherein a high-

 pressure device for testing may be inserted or placed within housing (11, 45) through the opening

 19. [Doc. No. 73 at 20] (citing ’428 Patent at 2:1–3, 3:4–7, 3:55–64, 5:60–6:1, Figure 1).

        Regarding Defendant’s construction, Plaintiff argues that it requires “walk-in . . . for entry

 by operators” for the “stationary housing,” and “small” closeable door for the “portable test

 housing.” Id. Plaintiff further argues that there is no reference in the intrinsic evidence for limiting

 the closeable access opening so narrowly. Id. Plaintiff contends that Defendant’s argument

 neglects that the use of the word “enter” could allow access or entry of an operator by other means,

 such as reaching through the access. Id. at 21 (citing ’428 Patent at 3:55–57). According to

 Plaintiff, the use of the word “enter” alone does not rise to the level of manifest exclusion or of

 restriction as to the size of the door. Id. Plaintiff also argues that Defendant has provided no

 support for the limitation that the closable access be limited to “small”. Id. (citing ’428 Patent

 5:45–46). Plaintiff contends that without a recitation of the “closable access” being “small,”

 Defendant’s construction has no support. Id.at 21–22.

        Defendant responds that the specification discusses the purpose of the closeable access



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 opening, and states that “[w]hen safety enter switch 20 senses that door 19 is closed, housing door

 19 is locked with a device such as an air cylinder so that no user/personnel can enter chamber 12.”

 [Doc. No. 78 at 20] (citing ’428 Patent at 3:55–57). According to Defendant, the closeable access

 opening must be one that a user can walk through if the door can be locked “so that no

 user/personnel can enter chamber 12.” Id. Defendant argues that Plaintiff’s construction would

 render the limitation in the specification meaningless. Id. Finally, Defendant contends that there

 is no closeable access opening numbered in Figure 5 (the portable test housing embodiment), yet

 the closeable access opening must exist for operation of the device. Id.

        Plaintiff replies that the “closeable access opening in said housing” is set forth in the

 specification as door 19 in housing 11 for inserting a high-pressure device for testing. [Doc. No.

 83 at 12] (citing ’428 Patent at 2:1–3, 3:4–7, 5:60–6:1, Figure 1). Plaintiff contends that the parties

 appear to agree that the “closeable access opening” is a door, but Defendant’s construction

 improperly limits the size of the door. Id. Plaintiff argues that Defendant neglects that the

 “closable access” would allow access or entry of an operator by any means such as a reaching

 through the access. Id. at 13. Plaintiff further argues that for claims 8 and 14, which introduce the

 limitation of the “portable housing,” the closable access would be inherently smaller, but this

 cannot apply to independent claims 1 and 11 due to the doctrine of claim differentiation. Id.

 Plaintiff restates that without a recitation of the “closable access” being “small,” Defendant’s

 construction has no support. Id. at 14.

                      b) Analysis

        The phrase “closeable access opening in said housing” appears in claims 1, 3, 4, 11, 16,

 and 18 of the ’428 Patent. The Court finds that the phrase is used consistently in the claims and is

 intended to have the same general meaning in each claim. The Court further finds that the intrinsic




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 evidence does not limit or require the “opening” to be a certain size, as required by Defendant’s

 construction. The specification generally discloses two embodiments. In the first embodiment,

 the specification describes the safety system as “a stationary explosion-proof safety housing

 comprising a bunker housing 11 having a chamber 12 therein.” ’428 Patent at 2:49–51. The

 specification discloses that the “[s]afety system 10 also includes a closeable access opening

 comprising a door 19 in bunker housing 11 for inserting a high-pressure device for testing within

 bunker housing 11.” Id. at 3:4–7, see also id. at Abstract (“[A] closeable access opening in the

 housing for inserting a high-pressure device for testing within the housing”), 2:1–3 (“[I]ncludes a

 closeable access opening in the safety housing for inserting a high-pressure device for testing

 within the safety housing”), 2:16–18 (“[I]nserting a high-pressure device for testing within the

 housing through the access opening.”), 5:66–6:1 (“[I]nserting a high-pressure device for testing

 within the explosion-proof safety housing 11, 45 through the access opening 19.”).

        As indicated, the specification does not limit or require the “opening” to be a certain size.

 The opening is only described as providing access for inserting a high-pressure device within the

 explosion-proof safety housing (11, 45). See, id. This does not require the opening to be a “walk-

 in door to the stationary housing,” as Defendant proposes. Instead, it only requires that the door

 19 allows for access to the chamber 12 for insertion or placement of the device to be tested. Indeed,

 the second embodiment disclosed also includes similar components (i.e., a low-pressure pump 41,

 an intermediate-pressure pump 42, a high-pressure pump 49 and a bleed valve 43), but is described

 as a “smaller portable enclosure or housing that may be moved to different testing sites.” ’428

 Patent at 5:46–47. Because the intrinsic evidence does not limit the size of the housing 11, the

 “opening” to the housing will be given its full meaning. Johnson Worldwide Assocs. v. Zebco

 Corp., 175 F.3d 985, 989 (Fed. Cir. 1999) (“General descriptive terms will ordinarily be given




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 their full meaning; modifiers will not be added to broad terms standing alone”). It would be

 improper to limit the “stationary housing” and the recited “opening” so narrowly, because it would

 fail to give appropriate weight to the intrinsic evidence.

         Defendant argues that “[t]he closeable access opening must be one that a user can walk

 through if the door can be locked ‘so that no user/personnel can enter chamber 12.’” [Doc. No. 78

 at 20] (citing ’428 Patent at 3:55–57). According to Defendant, “the closeable access opening

 ensures ‘no user/personnel’ can enter the chamber.” Id.         Defendant argues that Plaintiff’s

 construction would render the limitation in the specification meaningless. Id. The Court disagrees.

 The use of the word “enter” alone does not rise to the level of manifest exclusion or restriction as

 to the size of the opening. Innova/Pure Water, Inc. v. Safari Water Filtration Sys., 381 F.3d 1111,

 1117 (Fed. Cir. 2004) (“[C]laims will not be read restrictively unless the patentee has demonstrated

 a clear intention to limit the claim scope using words or expressions of manifest exclusion or

 restriction.”) (internal citations omitted).    Furthermore, Defendant’s argument neglects that

 “entry” could be by other means that does not require a walk-in door (e.g., placing a hand/arm into

 the housing).

         In summary, the stationary housing 11 is described in the specification as intended to

 “withstand and confine shock wave or shock pressure radiated by explosions,” and to allow

 “inserting a high-pressure device for testing within bunker housing 11.” ’428 Patent at 3:57–58,

 4:4-7. The intrinsic evidence does not limit the recited “housing” to one particular size, and the

 terms “housing” and “opening” will be given their full meaning. Accordingly, the Court rejects

 Defendant’s construction because it is not supported by the intrinsic evidence. Finally, in reaching

 its conclusion, the Court has considered the extrinsic evidence submitted by the parties, and given

 it its proper weight in light of the intrinsic evidence.




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                      c) Court’s Construction

        The Court construes the term “closeable access opening in said housing” to mean “a

 door in the housing which may be opened and closed for inserting a high-pressure device for

 testing.”

                3. “means within said housing for coupling said high-pressure pneumatics
                   testing equipment to said high-pressure device for testing”

        Disputed Term                 Plaintiff’s Proposal                Defendant’s Proposal
  “means within said            “means-plus-function term           “means for coupling” not
  housing for coupling said     encompassing pressure               supported in the specification;
  high-pressure pneumatics      containing hoses, fittings,         no corresponding structure is
  testing equipment to said     pressure containing fittings,       defined or clearly indicated in
  high-pressure device for      manifold fittings, pump fittings,   the figures”
  testing”                      and any equivalents thereto”


                      a) The Parties’ Positions

        The parties agree that the phrase “means within said housing for coupling said high-

 pressure pneumatics testing equipment to said high-pressure device for testing” is subject to § 112

 ¶ 6. Defendant contends that the phrase is indefinite, and argues that there is insufficient structure

 disclosed in the specification. Plaintiff argues that it is entitled to have the phrase construed to

 encompass any structures disclosed in the patent specification, as well as any equivalents thereto

 that perform the claimed function. [Doc. No. 73 at 23]. Plaintiff contends that “means 12a”

 functions for coupling the high pressure pneumatics testing equipment to the high-pressure device.

 Id. (citing ’428 Patent at 3:2–4, Figure 1). Plaintiff also contends that means for coupling high

 pressure pneumatics are well understood and defined as “to connect with a coupling, such as of

 two belts or two pipes.” Id. (citing Dictionary of Engineering, McGraw-Hill, 2nd ed. 2002).

        Plaintiff further contends that the specification identifies plumbing structures of hoses and

 pumps for the purpose of coupling the high pressure pneumatics testing equipment to the high-




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 pressure device. Id. at 24 (citing ’428 Patent at 3:36–38). Plaintiff argues that the term “means

 within said housing for coupling” did not require considerable explanation to be understood as

 being the hoses, pumps, manifolds, and fittings coupling the high-pressure pneumatics testing

 equipment to a high-pressure device for testing. Id.

        Regarding Defendant’s construction, Plaintiff argues that Defendant attempts to invalidate

 the limitation as indefinite. Id. Plaintiff contends that it has identified the function and structure

 of the means-plus-function term. Id. Plaintiff argues that the Court should adopt its construction

 because it is the only construction provided. Id. at 25.

        Defendant responds the phrase lacks support in the specification because there is no

 corresponding structure defined or clearly indicated in the figures. [Doc. No. 78 at 21]. Defendant

 argues that the claimed function is the coupling of the high-pressure pneumatics testing equipment

 to the high-pressure device for testing. Id. (citing ’428 Patent at 3:1–4). Defendant contends that

 the term “couple” is defined as “something that joins or links two things together.” Id. at 21-22.

 (citing Merriam-Webster.com, http://www.merriamwebster.com/dictionary/couple). Defendant

 further contends that the only reference to this means is found in Figure 1, marked as 12a. Id. at

 22. Defendant argues that the 12a reference is ambiguous and not in the form of a hose. Id.

 Defendant further contends that a patentee is only entitled to “corresponding structure . . .

 described in the specification and equivalents thereof,” not any device capable of performing the

 function. Id. (citing 35 U.S.C. § 112 ¶ 6; Blackboard, Inc. v. Desire2Learn Inc., 574 F.3d 1371,

 1385 (Fed. Cir. 2009)).

        Defendant also argues that Plaintiff is only entitled to have the phrase construed to

 encompass only “corresponding” structures. Id. at 23. Defendant contends that there is no

 structure in the specification that corresponds to the recited function. Id. Defendant further




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 contends that whether the claim term was “well understood in the art” is irrelevant to what is

 disclosed in the specification. Id. Defendant concludes that the phrase must be found indefinite

 because the specification fails to disclose the requisite type of means. Id. at 24.

         Plaintiff replies that the specification identifies the structures of “pumps, plumbing, hoses,

 and bleed valves” as being the articles “located entirely within chamber 12.” [Doc. No. 83 at 15]

 (citing ’428 Patent at 3:36–38, Figure 1). According to Plaintiff, the hoses and pumps are recited

 for the purpose of functioning as coupling the high pressure pneumatics testing equipment to the

 high-pressure device. Id. Plaintiff argues that “[i]t has been well-established that a specification

 need not disclose what is well-known in the art and that a patent need not teach, and preferably

 omits, what is well known in the art.” Id. (citing Streck, Inc. v. Research & Diagnostic Sys., Inc.,

 665 F.3d 1269, 1288 (Fed. Cir. 2012); Hybritech Inc. v. Monoclonal Antibodies, Inc., 802 F.2d

 1367, 1384 (Fed. Cir. 1986)). Plaintiff further argues that structures for providing coupling to the

 high-pressure testing equipment are present and disclosed within the specification. Id. at 15-16.

 Finally, Plaintiff contends that Defendant has not provided the Court with a claim construction.

 Id. at 16.

                      b) Analysis

         The phrase “means within said housing for coupling said high-pressure pneumatics testing

 equipment to said high-pressure device for testing” appears in asserted claims 1 and 11 of the ’428

 Patent. The phrase uses the words “means . . . for” and specifies a function, thus the Court

 presumes that the patentees intended to invoke the statutory mandates for means-plus-function

 clauses. York Prods. v. Central Tractor Farm & Family Ctr., 99 F.3d 1568, 1574 (Fed. Cir. 1996)

 (“In determining whether to apply the statutory procedures of section 112, ¶ 6, the use of the word

 ‘means’ triggers a presumption that the inventor used this term advisedly to invoke the statutory




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 mandates for means-plus-function clauses.”). Furthermore, the parties agree that the phrase is

 subject to § 112 ¶ 6. Accordingly, the Court finds that the phrase is governed by 35 U.S.C. § 112,

 ¶ 6.

        “The first step in construing [a means-plus-function] limitation is a determination of the

 function of the means-plus-function limitation.” Medtronic, 248 F.3d at 1311. The parties

 generally agree that the function is “coupling the high-pressure pneumatics testing equipment to

 the high-pressure device for testing.” (73 at 23, 78 at 21). The Court agrees that the intrinsic

 evidence indicates that the recited function is “coupling the high-pressure pneumatics testing

 equipment to the high-pressure device for testing.”

        Having determined the limitation’s function, “the next step is to determine the

 corresponding structure disclosed in the specification and equivalents thereof.” Medtronic, 248

 F.3d at 1311. The specification indicates that the corresponding structure that performs the recited

 function of “coupling the high-pressure pneumatics testing equipment to the high-pressure device

 for testing” is plumbing and hoses. Specifically, the specification states that “[l]ocated entirely

 within chamber 12 is at least one high-pressure pneumatics testing equipment and means 12a for

 coupling the high-pressure pneumatics testing equipment to a high-pressure device for testing.”

 ’428 Patent at 3:1–4. The specification further states that “a majority if not all associated pumps,

 plumbing, hoses, and bleed valves are to also be located entirely within chamber 12.” Id. at 3:36–

 37 (emphasis added); see also id. at 5:37–39 (“[M]ost if not all associated pumps, plumbing, hoses,

 and bleed valves located entirely within chamber 44 of a testing housing 45.”) (emphasis added).

 A person or ordinary skill in the art would understand that the identified plumbing and hoses is

 the corresponding structure that performs the function of coupling the high pressure pneumatics




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 testing equipment to the high-pressure device.5 Thus, the specification clearly indicates that the

 corresponding structure is the “plumbing and hoses and equivalents thereof.”

           Plaintiff argues that “it is well-established that a specification need not disclose what is

 well-known in the art and that a patent need not teach, and preferably omits, what is well known

 in the art”. [Doc. No. 73 at 24] (citing Streck, Inc. v. Research & Diagnostic Sys., Inc., 665 F.3d

 1269, 1288 (Fed. Cir. 2012); Hybritech Inc. v. Monoclonal Antibodies, Inc., 802 F.2d 1367, 1384

 (Fed. Cir. 1986)). The cases cited by Plaintiff are inapposite. At issue in those cases was whether

 the disclosure was enabling, it was not a § 112 ¶ 6 issue. See Streck, Inc. v. Research & Diagnostic

 Sys., Inc., 665 F.3d at 1292 (“[A] reasonable jury could not have found the patents invalid for lack

 of enablement by clear and convincing evidence”); Hybritech Inc. v. Monoclonal Antibodies, Inc.,

 802 F.2d at1384 (Fed. Cir. 1986) (“We hold as a matter of law that the ’110 patent disclosure is

 enabling.”). Under § 112 ¶ 6, a patentee is only entitled to “corresponding structure . . . described

 in the specification and equivalents thereof.” 35 U.S.C. § 112 ¶ 6 (pre-AIA) (emphasis added); see

 also Blackboard, Inc. v. Desire2Learn Inc., 574 F.3d 1371, 1385 (Fed. Cir. 2009) (“That ordinarily

 skilled artisans could carry out the recited function in a variety of ways is precisely why claims

 written in ‘means-plus-function’ form must disclose the particular structure that is used to perform

 the recited function.”).

           Turning to Defendant’s indefinite proposal, Defendant contends that there is no

 corresponding structure defined or clearly indicated in the figures. [Doc. No. 78 at 21] (emphasis

 added). As it is a challenge to the validity of a patent, the failure of any claim in suit to comply

 with § 112 must be shown by clear and convincing evidence. Nautilus Inc. v. Biosig Instruments,

 Inc., 134 S. Ct. 2120, 2130 n.10 (2014). Defendant argues that the only reference to the recited



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     The pumps and bleed valves are separately claimed elements. See, e.g., Claims 1 and 11.


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 means is found in Figure 1, marked as 12a. [Doc. No. 78 at 22].




 ’428 Patent at Figure 1 (partial excerpt). Defendant contends that the figure only shows a

 nondescript box. Id. at 22.     Defendant’s analysis, however, is incomplete and ignores the

 corresponding structure identified in the specification. As discussed above, the specification states

 that “[l]ocated entirely within chamber 12 is at least one high-pressure pneumatics testing

 equipment and means 12a for coupling the high-pressure pneumatics testing equipment to a high-

 pressure device for testing,” and that “a majority if not all associated pumps, plumbing, hoses, and

 bleed valves are to also be located entirely within chamber 12.” ’428 Patent at 3:1–4, 3:36–37

 (emphasis added).

        Indeed, Defendant argues in other briefing that “[a]ny tubing or hose that connects the

 pumps to the device to be tested would be part of the claimed ‘means within said housing for

 coupling said high-pressure pneumatics testing equipment to said high-pressure device for testing,’

 and not the ‘high-pressure pneumatics testing equipment’ itself.”). [Doc. No. 240 at 9].

 Accordingly, the Court finds that Defendant has failed to prove by clear and convincing evidence

 that the phrase is indefinite. Intel Corp. v. VIA Techs., Inc., 319 F.3d 1357, 1366 (Fed. Cir. 2003)

 (“[Defendant] needed to prove, by clear and convincing evidence, that the specification lacks


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 adequate disclosure of structure to be understood by one skilled in the art as able to perform the

 recited functions.”).

        Defendant is correct that the specification does not explicitly identify “fittings, pressure

 containing fittings, manifold fittings, pump fittings” as the corresponding structure. Thus, the

 Court rejects this portion of Plaintiff’s construction. However, this neither excludes nor includes

 these items as “equivalents” to the identified “plumbing and hoses.” It only indicates that these

 items were not identified in the specification as the corresponding structure for the recited function.

        Additionally, the Court’s construction indicates that plumbing and hoses that couple the

 high-pressure pneumatics testing equipment to the high-pressure device for testing are not the

 recited “high-pressure pneumatics testing equipment.” The “high-pressure pneumatics testing

 equipment” is a separately claimed element from the structure for “coupling said high-pressure

 pneumatics testing equipment to said high-pressure device.” The plain language of the claims

 requires both the “high-pressure pneumatics testing equipment” and the “means . . . for coupling”

 to be “within said housing.” To the extent that a party contends that plumbing and hoses are the

 recited “high-pressure pneumatics testing equipment,” the Court rejects that argument. Finally, in

 reaching its conclusion, the Court has considered the extrinsic evidence submitted by the parties

 and given it its proper weight in light of the intrinsic evidence.

                         c) Court’s Construction

        In light of the evidence, the Court finds that the phrase “means within said housing for

 coupling said high-pressure pneumatics testing equipment to said high-pressure device for

 testing” is governed by 35 U.S.C. § 112, ¶ 6, and construes the phrase as follows:

        Function: Coupling the high-pressure pneumatics testing equipment to the high-

 pressure device for testing.




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           Corresponding Structure: Plumbing and hoses and equivalents thereof.

                  4. “means linking said high-pressure pneumatics testing equipment to said
                     control panel”6

           Disputed Term                Plaintiff’s Proposal             Defendant’s Proposal
     “means linking said high-   “means-plus-function term          “tubing capable of
     pressure pneumatics         encompassing electronic cables,    communicating pressure from
     testing equipment to said   data cables, audio/video cables,   the control panel to the testing
     control panel”              digital and/or analog cables,      equipment”
                                 power cables, pressure
                                 containing hoses and tubing,
                                 and any equivalents thereto”

                       a) The Parties’ Positions

           The parties agree that the phrase “means linking said high-pressure pneumatics testing

 equipment to said control panel” is subject to § 112 ¶ 6. The parties dispute the corresponding

 structure for the phrase. Plaintiff argues that it is entitled to have the phrase construed to

 encompass any structures disclosed in the patent specification, as well as any equivalents thereto

 that perform the claimed function. [Doc. No. 73 at 25-26]. Plaintiff contends that in claims 1, 9,

 and, 11 of the ’428 Patent, the function of the “means linking” is to link and facilitate the function

 of the control panel and to operate the high-pressure testing equipment. Id. at 27 (citing ’428 Patent

 at 3:26-30, 6:40–43, 7:10–13, 7:35–38, 8:23–26). Plaintiff further argues that in claims 2, 12, and

 17 of the ’428 Patent, the control panel is further defined as functioning to monitor and record the

 operation of the high-pressure testing equipment from the control panel. Id. (citing ’428 Patent at

 6:45–48, 7:40–43, 8:29–31).



 6
   The parties originally proposed construing the phrase “coupling said control panel to the testing
 equipment inside said housing” recited in claim 16 for construction. [Doc. No. 73 at 25, Doc. No.
 78 at 24]. On November 20, 2018, the parties notified the Court that “claim construction is
 unnecessary for the phrase ‘coupling said control panel to the testing equipment inside said
 housing’ in claim 16 of US. Patent No. 8,146,428.” [Doc. No. 165 at 1]. Accordingly, the Court
 will not construe the phrase because the parties have indicated that there is not a claim construction
 dispute for this term.


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        Regarding the corresponding structure, Plaintiff contends that for claims 1, 9, and 11 the

 corresponding structure is “[t]ubing 17 [that] runs from the chamber 12 through a small opening

 18 on bunker housing 11 to the control panel 16.” Id. at 28 (citing ’428 Patent at 4:12–14). Plaintiff

 further argues that the control panel 16 is described as comprising pump on/off switch 34, an

 adjustable resistor 39, and ball valve 37. Id. (citing ’428 Patent at 5:5–10, Figure 4). Plaintiff

 contends that this conforms to the description that control panel 16 operates the high-pressure

 pneumatic testing equipment. Id. (citing ’428 Patent at 3:26–31). Plaintiff further contends that

 the “control panel” has physical control switches, resistors, valves, etc. or their digital

 computational equivalent means of controlling the testing equipment. Id.

        Plaintiff next argues that the recited structures for the limitations of claims 2, 12, and 17

 are described as chart recorders and pressure gauges on the control panel. [Doc. No. 73 at 28-29]

 (citing ’428 Patent at 5:27–29, 5:4–7, 5:17–29, Figure 4). Plaintiff contends that in addition to the

 traditional chart recorders using ink pen on plain paper, heated stylus on heat sensitive paper, or

 light or electron beam on photosensitive paper, and pressure gauges having metallic sensing

 elements or piezoeletric crystals to measure pressure was well known in the field of engineering

 and equipment testing. Id. at 29 (citing Dictionary of Engineering, McGraw-Hill, 2nd ed. 2002;

 Doc. No. 83-2)

        Plaintiff also argues that the structural equivalence for the “means for monitoring and

 recording” includes physical or analog pressure gauge, chart recorder, etc. or their digital and

 computational equivalents. Id. Plaintiff argues that claims of a patent generally are not strictly

 limited to a device described in the specifications or depicted in a drawing. Id. (citing Arnold

 PipeRentals Co. v. Engineering Enterprises, Inc., 350 F.2d 885 (5th Cir. 1965); Ziegler v. Phillips

 Petroleum Co., 483 F.2d 858 (5th Cir. 1973)). Plaintiff contends that the operation of the control




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 panel to turn on/off the testing equipment and allow for input of pressure is well known to require

 tubing and pressure containing hoses to facilitate the passage of pneumatic pressures and other

 electronic cables and power cables. Id. at 30.

        Plaintiff further argues that “means linking” for a control panel 16 for monitoring and

 recording are well known to include analog/digital cables, data cables, audio/video cables,

 electronic and power cables capable. Id. (citing Doc. No. 83-2). Plaintiff contends that claims 1,

 9, and 11 should be construed as a means-plus-function phrase comprising tubing, pressure

 containing hoses, electronic cables, power cables, and any equivalents thereto. Id. Plaintiff further

 contends that claims 2, 12, and 17 should be construed as a means-plus-function phrase including

 the previous structures as well as comprising analog/digital cables, data cables, audio/video cables,

 electronic and power cables, and any equivalents thereto. Id.

        Defendant responds that the specification describes tubing being used to communicate

 pressure between the control panel and the testing equipment. [Doc. No. 78 at 24] (citing ’428

 Patent at 4:5-15). Defendant argues that Figure 1 displays tubing (17). Id. at 25. According to

 Defendant, the construction for these terms is “tubing capable of communicating pressure from

 the control panel to the testing equipment.” Id. at 24.

        Defendant further argues that the quid pro quo of invoking mean-plus-function is that the

 patentee must detail in the specification an adequate disclosure showing what is meant by that

 language. Id. at 25 (citing B. Braun Med., Inc. v. Abbott Lab., 124 F.3d 1419, 1425 (Fed. Cir.

 1997). Defendant contends that the structural equivalence under § 112, ¶ 6 is met only if the

 differences are insubstantial. Id. at 26 (citing Chiuminatta Concrete Concepts, Inc. v. Cardinal

 Indus., Inc., 145 F.3d 1303, 1308 (Fed. Cir. 1998)). Defendant argues that for the “means linking

 said high-pressure pneumatics testing equipment to said control panel,” Plaintiff erroneously




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 proposes equivalents as “electronic cables, data cables, audio/video cables, digital and/or analog

 cables, [and] power cables.” Id. Defendant contends that these items will transmit a wholly

 different way to achieve a wholly different result than the tubing described in the specification. Id.

 at 26-27.

        Defendant argues that Plaintiff ignores that means-plus-function claims are limited to the

 particular structures the specification describes as performing the recited function (and their

 statutory equivalents), even if a person of ordinary skill in the art would know what other structures

 could be employed to perform the function. Id. at 27 (citing Ergo Licensing, LLC v. CareFusion

 303, Inc., 673 F.3d 1361, 1364 (Fed. Cir. 2012)). According to Defendant, the Court should

 disregard any exemplary language proposed by Plaintiff that lacks support in the specification. Id.

        Plaintiff replies that Defendant’s construction are overly simplified interpretation for the

 structural limitations of the “means linking” and “means for monitoring and recording.” [Doc. No.

 83 at 17]. Plaintiff argues that it is entitled to have the phrases construed to encompass any

 structures disclosed in the patent specification, as well as any equivalents. Id. Plaintiff repeats the

 argument that the function of the “means linking” in claims 1 and 11 is to link and facilitate the

 function of the control panel as to operate the high-pressure testing equipment. Id. at 18.

        Plaintiff also repeats that the control panel 16 is described as comprising pump on/off

 switch 34, an adjustable resistor 39, and ball valve 37. Id. Plaintiff further contends that switches,

 resistors, valves, etc. or their digital computational equivalent perform the claimed function of

 operating the high-pressure testing equipment in substantially the same way of setting limits and

 sending signals from and to the high-pressure testing equipment through the cables, hoses, tubing,

 and other equivalent structural “means linking” to achieve substantially the same result of

 facilitating the high-pressure test. Id.




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        Plaintiff repeats that the recited structures for the limitations of claims 2, 12, and 17 are

 described as chart recorders and pressure gauges on the control panel. Id. Plaintiff further contends

 that physical or analog pressure gauge, chart recorder, etc. or their digital and computational

 equivalents perform the claimed function of monitoring and recording the operation of the high-

 pressure testing equipment in substantially the same way of receiving data and signals from the

 testing equipment through the cables, hoses, tubing, and equivalent structural “means linking” to

 achieve substantially the same result of allowing for the monitoring and recording of the test. Id.at

 19.

        Plaintiff further argues that the claims of a patent generally are not strictly limited to a

 device described in the specifications or depicted in a drawing. Id. According to Plaintiff, the

 specification recites multiple embodiments (e.g. a stationary embodiment, portable embodiment,

 etc.) that contain the disputed “means linking” and “means for monitoring and recording,” and

 recites the structure in general terms. Id. Plaintiff further argues that the Affidavit of Mr. Lavergne

 provides the Court with the state of the art at the time the ’428 Patent was filed regarding common

 equivalents of the “means linking/coupling” and “means for monitoring and recording.” Id. at 20.

 Plaintiff argues that the testimony of the inventor is necessary to provide the Court with the

 knowledge and insight of the art at the time of filing the invention. Id. at 22. Plaintiff contends

 that the Affidavit of Mr. Lavergne does not contradict the claim language, and does not contradict

 the import of the specification. Id.

                      b) Analysis

        The phrase “means linking said high-pressure pneumatics testing equipment to said control

 panel” appears in asserted claims 1, 2, 9, 11, and 12 of the ’428 Patent. The phrase uses the words

 “means . . . for” and specifies a function, thus the Court presumes that the patentees intended to




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 invoke the statutory mandates for means-plus-function clauses. York Prods. v. Central Tractor

 Farm & Family Ctr., 99 F.3d 1568, 1574 (Fed. Cir. 1996) (“In determining whether to apply the

 statutory procedures of section 112, ¶ 6, the use of the word ‘means’ triggers a presumption that

 the inventor used this term advisedly to invoke the statutory mandates for means-plus-function

 clauses.”). Furthermore, the parties agree that the phrase is subject to § 112 ¶ 6. The Court agrees,

 but finds that the parties have not identified the entire mean-plus-function limitation recited in the

 claims. Specifically, the claims recite “means linking said high-pressure pneumatics testing

 equipment to said control panel for operating said high-pressure pneumatics testing equipment.”

 See, e.g., ’428 Patent at 6:40–42 (emphasis added). Accordingly, the Court finds that the phrase

 is governed by 35 U.S.C. § 112, ¶ 6.

        “The first step in construing [a means-plus-function] limitation is a determination of the

 function of the means-plus-function limitation.” Medtronic, 248 F.3d at 1311. Plaintiff contends

 that the function is “to link and facilitate the function of the control panel . . . as to operate the

 high-pressure testing equipment.” [Doc. No. 73 at 27]. Defendant does not propose a function for

 the disputed term. The intrinsic evidence indicates that the recited function is “linking the high-

 pressure pneumatics testing equipment to the control panel to operate the high-pressure

 pneumatics testing equipment.” Plaintiff further contends that for claims 2, 12, and 17 the function

 includes “facilitate the monitoring and recording of such operation.” The Court notes that claims

 2, 12, and 17 are dependent claims, and relate to the disputed phrase “means for monitoring and

 recording,” which is discussed in more detail below. Accordingly, the Court will address this

 argument when it addresses the “means for monitoring and recording” phrase.

        Having determined the limitation’s function, “the next step is to determine the

 corresponding structure disclosed in the specification and equivalents thereof.” Medtronic, 248




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 F.3d at 1311. The specification indicates that the corresponding structure that performs the recited

 function of “linking the high-pressure pneumatics testing equipment to the control panel to operate

 the high-pressure pneumatics testing equipment” is tubing capable of communicating pressure.

 Specifically, the specification states that “the embodiment of FIG. 1 shows the control panel 16

 linked to the low-pressure pump 13, intermediate-pressure pump 14, high-pressure pump 47, and

 the bleed valve 15 by a 1/8" 60,000 psi rate cone and reinforced thread tubing 17 with a 4 to 1

 safety factor.” ’428 Patent at 4:8–13 (emphasis added). The specification further states that

 “[t]ubing 17 runs from the chamber 12 through a small opening 18 on bunker housing 11 to the

 control panel 16 and may also be reinforce by a steel piping.” Id. at 4:13–15. 7 The specification

 further indicates that the tubing must be capable of communicating pressure when it discloses that

 the pump on/off valve is “is connected to control panel 16 and is air operated to switch pump

 on/off valve 29 on and off.” Id. at 4:62–63 (emphasis added). Thus, the corresponding structure

 that performs the recited function of “linking the high-pressure pneumatics testing equipment to

 the control panel to operate the high-pressure pneumatics testing equipment” is tubing capable of

 communicating pressure.

           The specification also identifies pump on/off switch 34, air regulator 35, ball valve 37,

 filter 38, and adjustable resistor 39 as corresponding structure for performing the recited “linking

 and operating” function. Specifically, the specification states the following”

          FIG. 4 is a schematic view showing the general components of the control panel 16
          of safety system 10 comprising a pump on/off switch 34, an air regulator 35, an air
          drive pressure gauge 36, a ball valve 37, and a filter 38. Pump on/off switch 34
          functions by sending a pneumatic signal to the corresponding high-pressure
          equipment testing device to either turn on or off the particular device. Pump on/off
          switch 34 is shown in fluid communication with air regulator 35, which includes
          an adjustable resistor 39 to allow the user to control or set the amount fluid flow
          that is directed into control panel 16. To prevent over pressurization, air regulator


 7
     The reinforced tubing is a separately claimed element. See, e.g., Claim 9.


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        35 has the ability to automatically bleed off excess air that is directed through
        control panel 16.

        Air regulator 35 is shown in fluid communication with ball valve 37, which
        functions to control the main pressure of control panel 15 on and off. Located
        between and in fluid communication with air regulator 35 and ball valve 37 is air
        drive pressure gauge 36, which similar to air drive pressure gauge 25, functions to
        display the pressure being directed through control panel 16. Also in fluid
        communication with ball valve 37 is filter 38, which functions to remove and
        automatically drain liquids from the air entering control panel 16.

 ’428 Patent at 5:4–26. Accordingly, the specification identifies pump on/off switch, air regulator,

 ball valve, filter, and adjustable resistor as the corresponding structure for performing the “linking

 and operating” function.8

        Plaintiff argues that the specification identifies pump on/off switch 34, adjustable resistor

 39, and ball valve 37 as the corresponding structure. [Doc. No. 73 at 28] (citing ’428 Patent at 5:5-

 10, Figure 4). The Court agrees. The specification clearly identifies these components as the

 corresponding structure. ’428 Patent at 5:4–7 (“FIG. 4 is a schematic view showing the general

 components of the control panel 16 of safety system 10 comprising a pump on/off switch 34, an

 air regulator 35, an air drive pressure gauge 36, a ball valve 37, and a filter 38.”).

        Plaintiff also argues that “[t]he operation of the control panel 16 to turn on and off the

 testing equipment as well as allow for input of pressure is well known to require tubing and

 pressure containing hoses to facilitate the passage of pneumatic pressures and other such electronic

 cables and power cables which would allow for turning the pneumatic testing equipment on and

 off.” [Doc. No. 73 at 30]. The Court agrees that the corresponding structure is tubing and pressure

 containing hoses, but disagrees that the specification identifies “cables” as the corresponding

 structure that performs the recited “linking” function. The specification does not identify or



 8
   As will be discussed in more detail below, the identified air drive pressure gauge 36 is the
 corresponding structure for the phrase “means for monitoring and recording.”


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 disclose any electronic cables and power cables. Thus, the Court rejects this portion of Plaintiff’s

 construction. However, this neither excludes nor includes these items as “equivalents,” or as even

 required in the operation of the control panel. It only indicates that these items were not identified

 in the specification as the corresponding structure for the recited “linking and operating” function.

         Regarding Plaintiff’s proposed “analog/digital cables, data cables, audio/video cables,

 electronic and power cables capable of facilitating and allowing for the operation and function of

 chart recording and pressure gauge devices.” [Doc. No. 73 at 30]. The Court notes that the function

 of “monitoring and recording the operation of the high-pressure pneumatics testing equipment” is

 recited in dependent claims 2, 12, and 17, which is another disputed term. Accordingly, the Court

 will address this argument when it address that term.

         Defendant’s construction identifies the tubing as the corresponding structure, but omits the

 identified pump on/off switch, air regulator, ball valve, filter, and adjustable resistor. Thus, for

 the reasons stated above, the Court finds Defendant’s identified structure to be incomplete.

 Finally, in reaching its conclusion, the Court has considered the extrinsic evidence submitted by

 the parties, and given it its proper weight in light of the intrinsic evidence.

                      c) Court’s Construction

        In light of the evidence, the Court finds that the phrase “means linking said high-

 pressure pneumatics testing equipment to said control panel for operating said high-

 pressure pneumatics testing equipment” is governed by 35 U.S.C. § 112, ¶ 6, and construes the

 phrase as follows:

        Function: Linking the high-pressure pneumatics testing equipment to the control

 panel to operate the high-pressure pneumatics testing equipment.

        Corresponding Structure: Pump on/off switch, air regulator, ball valve, filter,




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 adjustable resistor, tubing capable of communicating pressure and equivalents thereof.

                 5. “means for monitoring and recording”

        Disputed Term                 Plaintiff’s Proposal              Defendant’s Proposal
  “means for monitoring         “means-plus-function term           “gauges and chart recorders
  and recording”                encompassing chart recorders,       connected to the control panel”
                                monitors, screens, gauges,
                                computers, data recording
                                instruments, and any
                                equivalents thereto”

                       a) The Parties’ Positions

          The parties agree that the phrase “means for monitoring and recording” is subject to § 112

 ¶ 6. The parties dispute the corresponding structure for the phrase. Plaintiff argues that control

 panel 16 is shown with a chart recorder for monitoring and recording the operation of the high-

 pressure pneumatics testing equipment. [Doc. No. 73 at 31] (citing ’428 Patent at 5:26–29, Figure

 4). Plaintiff further argues that gauge 36 is provided in the apparatus to display the pressure being

 directed through the control panel 16. Id. (citing ’428 Patent at 5:4–7, 5:17–23, Figure 4). Plaintiff

 contends that it was well known that chart recorders and gauges were and are incorporated as

 analog/digital computational programs and systems operated and executed through computers. Id.

 (citing Doc. No. 83-2). Plaintiff also contends that monitors, screens, computers, and other data

 recording instruments are equivalent devices and instruments which facilitate such operations. Id.

 at 32.

          Defendant responds that the specification describes the control panel as “comprising a

 pump on/off switch 34, an air regulator 35, an air drive pressure gauge 36, a ball valve 37, and a

 filter 38.” [Doc. No. 78 at 29] (citing ’428 Patent at 5:4–7). Defendant argues that only the gauge

 (36) functions as a means for “monitoring and recording.” Id. (citing ’428 at 5: 22–23). Defendant

 also contends that the specification identifies a chart recorder as means for “monitoring and




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 recording.” Id. (citing ’428 Patent at 5:26–29).

        Defendant further argues that Plaintiff again proposes improper equivalents under § 112,

 ¶ 6. Id. Defendant contends that the means-plus-function claims are limited to the particular

 structures the specification describes as performing the recited function (and their statutory

 equivalents), regardless of whether a person of ordinary skill in the art would know what other

 structures could be employed to perform the function. Id. at 30. Defendant argues that Plaintiff’s

 overly broad “equivalents” render its construction insupportable in light of the embodiment

 disclosed in the specifications. Id.

        Plaintiff replies that Defendant’s construction are overly simplified interpretation for the

 structural limitations of the “means linking” and “means for monitoring and recording.” [Doc. No.

 83 at 17]. Plaintiff argues that it is entitled to have the phrases construed to encompass any

 structures disclosed in the patent specification, as well as any equivalents. Id. Plaintiff repeats the

 argument that the function of “means for monitoring and recording” in claims 2, 12, and 17 is to

 facilitate the monitoring and recording of such operation. Id. at 18. Plaintiff also repeats that the

 recited structures for the limitations of claims 2, 12, and 17 are described as chart recorders and

 pressure gauges on the control panel. Id. Plaintiff further contends that physical or analog pressure

 gauge, chart recorder, etc. or their digital and computational equivalents perform the claimed

 function of monitoring and recording the operation of the high-pressure testing equipment in

 substantially the same way of receiving data and signals from the testing equipment through the

 cables, hoses, tubing, and equivalent structural “means linking” to achieve substantially the same

 result of allowing for the monitoring and recording of the test. Id. at 19.

        Plaintiff further argues that the claims of a patent generally are not strictly limited to a

 device described in the specifications or depicted in a drawing. Id. According to Plaintiff, the




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 specification recites multiple embodiments (e.g., a stationary embodiment, portable embodiment,

 etc.) that contain the disputed “means linking” and “means for monitoring and recording,” and

 recites the structure in general terms. Id. Plaintiff further argues that the Affidavit of Mr. Lavergne

 provides the Court with the state of the art at the time the ’428 Patent was filed regarding common

 equivalents of the “means linking/coupling” and “means for monitoring and recording.” Id. at 20.

 Plaintiff argues that the testimony of the inventor is necessary to provide the Court with the

 knowledge and insight of the art at the time of filing the invention. Id. at 22. Plaintiff contends

 that the Affidavit of Mr. Lavergne does not contradict the claim language, and does not contradict

 the import of the specification. Id.

                      b) Analysis

        The phrase “means for monitoring and recording” appears in asserted claims 2 and 12 of

 the ’428 Patent.9 The phrase uses the words “means for” and specifies a function, thus the Court

 presumes that the patentees intended to invoke the statutory mandates for means-plus-function

 clauses. York Prods. v. Central Tractor Farm & Family Ctr., 99 F.3d 1568, 1574 (Fed. Cir. 1996)

 (“In determining whether to apply the statutory procedures of section 112, ¶ 6, the use of the word

 ‘means’ triggers a presumption that the inventor used this term advisedly to invoke the statutory

 mandates for means-plus-function clauses.”). Furthermore, the parties agree that the phrase is

 subject to § 112 ¶ 6. The Court agrees, but finds that the parties have not identified the entire

 mean-plus-function limitation recited in the claims. Specifically, the claims recite “means for

 monitoring and recording the operation of said high-pressure pneumatics testing equipment.” See,



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    Claim 2 recites “means for monitoring and recording the operation of said high-pressure
 pneumatics testing equipment.” Claim 12 recites “means for monitoring and recording of the
 operation of said high-pressure pneumatics testing equipment.” Claim 17 is a method claim, and
 recites “the step of monitoring and recording of the operation of said high-pressure pneumatics
 testing equipment from said control panel.”


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 e.g., ’428 Patent at 6:47–48 (emphasis added). Accordingly, the Court finds that the phrase is

 governed by 35 U.S.C. § 112, ¶ 6.

        “The first step in construing [a means-plus-function] limitation is a determination of the

 function of the means-plus-function limitation.” Medtronic, 248 F.3d at 1311. Plaintiff contends

 that the function is “to monitor and record the operation of the high-pressure testing equipment

 from the control panel.” [Doc. No. 73 at 27]. Defendant does not propose a function for the

 disputed term. The intrinsic evidence indicates that the recited function is “monitoring and

 recording the operation of the high-pressure pneumatics testing equipment.”

        Having determined the limitation’s function, “the next step is to determine the

 corresponding structure disclosed in the specification and equivalents thereof.” Medtronic, 248

 F.3d at 1311. The specification indicates that the corresponding structure that performs the recited

 function of “monitoring and recording the operation of the high-pressure pneumatics testing

 equipment” is gauges and chart recorders connected to the control panel. Specifically, the

 specification states that “FIG. 4 is a schematic view showing the general components of the control

 panel 16 of safety system 10 comprising . . . pressure gauge 36.” ’428 Patent at 5:3–5.




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 Id. at Figure 4. The specification states that “drive pressure gauge 36 . . . functions to display the

 pressure being directed through control panel 16.” Id. at 5:21–23. The specification further states

 that “[i]n the embodiment of FIG. 4, control panel 16 is shown also including means for monitoring

 and recording the operation of the high-pressure pneumatics testing equipment comprising a chart

 recorder.” Id. at 5:26–29. Thus, the specification clearly identifies the corresponding structure

 that performs the recited function of “monitoring and recording the operation of the high-pressure

 pneumatics testing equipment” as gauges and chart recorders connected to the control panel.

        Plaintiff argues that “[t]he recited structures for the limitations of Claims 2, 12, and 17 are

 described as chart recorders and pressure gauges on the control panel to facilitate the monitoring

 and recording of the high-pressure test conducted.” [Doc. No. 73 at 28-29, 30, 31]. The Court

 agrees. Plaintiff further argues that the corresponding structure includes “analog/digital cables,

 data cables, audio/video cables, electronic and power cables capable of facilitating and allowing

 for the operation and function of chart recording and pressure gauge devices.” Id. at 30. Plaintiff


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 also argues that corresponding structure includes “monitors, screens, computers, and other data

 recording instruments.” Id. at 32. The Court disagrees that the specification identifies these items

 as the corresponding structure for the recited function.

        The specification does not identify or disclose a monitor, a screen, a computer, and other

 data recording instrument as the corresponding structure. Thus, the Court rejects this portion of

 Plaintiff’s construction. However, this neither excludes nor includes these items as “equivalents,”

 or as even required to monitor and record the operation of the high-pressure pneumatics testing

 equipment. It only indicates that these items were not identified in the specification as the

 corresponding structure for the recited function. Finally, in reaching its conclusion, the Court has

 considered the extrinsic evidence submitted by the parties, and given it its proper weight in light

 of the intrinsic evidence.

                      c) Court’s Construction

        In light of the evidence, the Court finds that the phrase “means for monitoring and

 recording [of] the operation of said high-pressure pneumatics testing equipment” is governed

 by 35 U.S.C. § 112, ¶ 6, and construes the phrase as follows:

        Function: Monitoring and recording the operation of the high-pressure pneumatics

 testing equipment.

        Corresponding Structure: Gauges and chart recorders connected to the control panel

 and equivalents thereof.

                6. “stationary housing”

        Disputed Term                 Plaintiff’s Proposal              Defendant’s Proposal
  “stationary housing”         “the housing substantially fixed    “relatively non-movable
                               in place or position”               bunker intended for movement
                                                                   of personnel into and out of
                                                                   bunker chamber”




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                      a) The Parties’ Positions

        As with the term “closeable access opening,” the parties dispute whether the housing must

 be “intended for movement of personnel into and out of bunker chamber,” as Defendant proposes.

 Thus, the only new claim construction dispute is the construction for the term “stationary.”

 However, the parties essentially agree on the construction for this term. Plaintiff argues that the

 specification does not describe “stationary” because it is a term generally understood by laypersons

 and those of skill in the art. [Doc. No. 73 at 32] (citing Merriam-Webster’s 11th Collegiate

 Dictionary 2003).

        Regarding Defendant’s construction, Plaintiff argues that it attempts to read a “walk-in”

 limitation into the construction of the “stationary housing.” Id. Plaintiff contends that the closeable

 access opening (door 19) is only described as being provided for allowing for insertion or placing

 of a high-pressure device within the explosion-proof safety housing (11, 45). Id. at 33 (citing ’428

 Patent at 3:4–7). Plaintiff argues that nothing requires the stationary housing to be capable of

 allowing movement of personnel into and out of the bunker chamber. Id. Plaintiff further argues

 that entry into the chamber 12 does not in and of itself suggest or describe personnel being capable

 of bodily going into and out of the stationary housing. Id. According to Plaintiff, “entry” could be

 by other means of entry of operators or personnel into the housing. Id. Plaintiff further argues that

 the specification does not define a size limit for housing 11. Id. at 34 (citing ’428 Patent at 3:57–

 58, 4:4–7). Plaintiff contends that limiting the stationary housing so narrowly would fail to give

 appropriate weight to the intrinsic evidence. Id.

        Defendant responds that a “bunker” is defined as “a protective embankment or dugout” or

 “a strong building that is mostly below ground and that is used to keep soldiers, weapons, etc.,

 safe from attacks.” [Doc. No. 78 at 30] (citing Merriam-Webster.com, http://www.merriam-

 webster.com/dictionary/bunker). Defendant argues that the stationary housing contemplates a user


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 being inside the bunker at times to manage the testing equipment and the device being tested, and

 then outside the bunker during the actual testing to protect the operator. Id. at 31. Defendant

 contends that the specification contemplates a user entering the bunker chamber. Id. (citing ’428

 Patent at 3:55–57).

        Regarding Plaintiff’s construction, Defendant argues that Plaintiff ignores its own use of

 the term “bunker.” Id. Defendant further argues that Plaintiff’s construction of “stationary

 housing” does not comport with Plaintiff’s construction of “explosion-proof safety housing.” Id.

 at 32. According to Defendant, its construction of “stationary housing” is consistent with its

 construction of “explosion-proof safety housing” because both define “housing” as a bunker. Id.

        Plaintiff replies that it has no objection to the inclusion of “bunker” or “chamber” within

 the defining terms of “housing.” [Doc. No. 83 at 22]. Plaintiff argues that “stationary housing”

 should be construed to mean “a case, enclosure, bunker, or chamber substantially fixed in place or

 position.” Id. at 23. Plaintiff contends that Defendant’s construction is based entirely on the use

 of the term “enter” in the specification. Id. (citing ’428 Patent at 3:55–57). Plaintiff contends that

 Defendant resorts to citing the definition of a military “bunker” from Merriam-Webster’s online

 dictionary. Id. at 24. Plaintiff argues that an equivalent of “bunker” is “a bin or compartment for

 storage.” Id. (citing http://www.merriam-webster.com/dictionary/bunker). According to Plaintiff,

 Defendant’s reliance on extrinsic evidence carries little weight for its proposition that the size of

 the bunker be intended for movement of personnel into and out of the bunker chamber. Id.

        Plaintiff further argues that the word “enter” alone does not rise to the level of manifest

 exclusion or of restriction as to the size. Id. Plaintiff contends that Defendant neglects that “entry”

 could be by other means of entry of operators or personnel into the housing. Id. Plaintiff argues

 that the specification does not define a size limit for housing 11. Id. (citing ’428 Patent at 3:57–




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 58, 4:4–7).

                      b) Analysis

        The limitation of “stationary housing” appears in dependent claim 7, which depends from

 independent claim 1. Independent claim 1 is where the phrase “explosion-proof safety housing”

 initially appears, and it is dependent claim 7 that recites “[t]he safety system for testing high-

 pressure devices as described in claim 1 wherein said explosion-proof safety housing comprises a

 stationary housing.” It is understood that a claim in dependent form shall be construed to

 incorporate by reference all the limitations of the claim to which it refers. 35 U.S.C. § 112. Thus,

 “housing,” as construed by the Court in the term “explosion-proof safety housing” in claim 1, is

 read into the meaning of “stationary housing” for claim 7. It is redundant, unnecessary, and

 potentially confusing to construe the term “housing” again in this claim. Accordingly, the Court

 finds that the only term that requires construction is “stationary.”

        The Court finds that “stationary” means “relatively non-movable or substantially fixed in

 place,” as proposed by the parties. As discussed, the term “stationary” appears in dependent claim

 7, and indicates that the recited “explosion-proof safety housing” is “stationary.” The specification

 further states that “[s]afety system 10 includes a stationary explosion-proof safety housing

 comprising a bunker housing 11 having a chamber 12 therein.” ’428 Patent at 2:49–51.

        This is in contrast to dependent claim 8, which requires the recited “explosion-proof safety

 housing” to be “portable.” Likewise, the specification describes the embodiment disclosed in

 Figure 5 as a “portable safety system.” Id. at 5:30–31. The specification states that “unlike the

 bunker housing 11 of safety system 10, which comprises a stationary enclosure, the testing housing

 45 of portable safety system 40 comprises a smaller portable enclosure or housing that may be

 moved to different testing sites.” Id. at 5:43–47 (emphasis added). The specification adds that




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 “[f]or ease in transportation, the control panel 46 may be attached to an exterior surface of the test

 housing 45 and the housing may include wheels 47 to expedite the transport of portable safety

 system 40.” Id. at 5:47–50. This is consistent with the parties’ agreed construction that “portable

 housing” means “a housing that is movable or transportable to different testing sites. [Doc. No. 59

 at 2]. Accordingly, the intrinsic evidence indicates that “stationary,” in contrast to “portable.”

 means “relatively non-movable or substantially fixed in place.” The extrinsic evidence cited by

 Plaintiff is consistent with the intrinsic evidence, and defines “stationary” as “not moving: staying

 in one place or position.” [Doc. No. 73 at 32] (citing Merriam-Webster’s 11th Collegiate

 Dictionary 2003).

        Regarding Defendant’s construction, the Court rejects it because it attempts to read an

 unwarranted size limitation into the construction of the term “housing.” Defendant argues that the

 “stationary housing” should be construed as being “intended for movement of personnel into and

 out of bunker chamber.” As discussed above for the term “explosion-proof safety housing,” the

 stationary housing 11 is described in the specification as intended to “withstand and confine shock

 wave or shock pressure radiated by explosions,” and to allow “inserting a high-pressure device for

 testing within bunker housing 11.” ’428 Patent at 3:57–58, 4:4–7. The specification does not limit

 the size of housing 11. Accordingly, the Court has resolved the parties’ claim construction dispute

 as it relates to the size of the housing when it construed the term “explosion-proof safety housing.”

 For the reason discussed above, the Court rejects this portion of Defendant’s construction. Finally,

 in reaching its conclusion, the Court has considered the extrinsic evidence submitted by the parties,

 and given it its proper weight in light of the intrinsic evidence.

                      c) Court’s Construction

        The Court construes the term “stationary” to means “relatively non-movable or




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 substantially fixed in place.”

          V.      CONCLUSION

        The Court adopts the above constructions. The parties are ordered to not refer, directly or

 indirectly, to each other’s claim construction positions in the presence of the jury. Likewise, the

 parties are ordered to refrain from mentioning any part of this opinion, other than the definitions

 adopted by the Court, in the presence of the jury. However, the parties are reminded that the

 testimony of any witness is bound by the Court’s reasoning in this order but any reference to claim

 construction proceedings is limited to informing the jury of the definitions adopted by the Court.

        Monroe, Louisiana, this 10th day of June, 2019.



                                                      ____________________________________
                                                       TERRY A. DOUGHTY
                                                       UNITED STATES DISTRICT JUDGE




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